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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAIʻI

  GRAHAM T. CHELIUS, M.D., et al.,       CIV. NO. 1:17-cv-00493-DKW-KSC
                      Plaintiffs,
                                               JOINT STATUS REPORT
              vs.

  ALEX M. AZAR, II, M.D., M.P.H., in
  his official capacity as SECRETARY,
  U.S. D.H.H.S., et al.,

                      Defendants.
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                             JOINT STATUS REPORT

       Pursuant to this Court’s April 10, 2019 Minute Entry, ECF No. 53, Plaintiffs

 and the Federal Defendants in the above-captioned matter, through undersigned

 counsel, hereby submit the following status update:

 I.    Update Regarding Production of Emails and Privilege Logs

       As part of the parties’ April 3, 2019 discovery agreement (“The

 Agreement”), as summarized in Plaintiffs Second Rule 16 Scheduling Conference

 Statement, ECF 50), the Federal Defendants report that the United States Food and

 Drug Administration (“FDA”) has diligently gathered, reviewed, and prepared for

 production the electronic documents requested by Plaintiffs. FDA undertook this

 process for more than the initial universe of custodians identified as potentially

 possessing responsive emails and related documents, preparing roughly 7000 pages

 of emails and related documents for production to Plaintiffs. These documents and

 the corresponding privilege log were produced to Plaintiffs on August 12, in light

 of an agreement with Plaintiffs that they will treat the production as subject to the

 protective order (the final terms of which are currently being negotiated), pending

 finalization and entry of the protective order.

        As Federal Defendants stated in the last three status reports (ECF 61, 65 and

 71) based on the review of emails and attachments, FDA encountered additional

 custodians possessing potentially relevant materials. FDA retrieved emails and


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 attachments responsive to search terms for the additional document custodians.

 FDA also reviewed the emails and attachments from these custodians for privilege

 and redacted any privileged or protected information. These documents,

 approximately 2,000 pages worth, and an updated corresponding privilege log

 were produced to Plaintiffs on August 30, and September 6, 2019. At this time,

 FDA believes that all responsive documents in its possession have either been

 produced to Plaintiffs or accounted for in the privilege log.

       The parties are continuing to confer and exchange drafts in an effort to

 resolve very few narrow areas of disagreement on the Protective Order and

 Woodcock Declaration. If the parties cannot reach an agreement on these matters,

 then Plaintiffs may seek the Court’s assistance to expedite their resolution.

 II.   Any Additional Matters

       The parties are not aware of any additional matters that need to be raised at

 this time.

 Dated: September 6, 2019.                     Respectfully submitted,
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